Case 4:11-cr-00159-CVE      Document 154 Filed in USDC ND/OK on 05/27/25         Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                       )
                                                  )
                             Plaintiff,           )
                                                  )
  vs.                                             )     Case No. 11-cr-0159-002-CVE
                                                  )
  CLINT WESLEY MENZO LAWRENCE,                    )
                                                  )
                             Defendant.           )

      NOTICE OF INTENT TO ADMIT VIOLATIONS ALLEGED IN
   PETITION FOR WARRANT FOR OFFENDER UNDER SUPERVISION

        COMES NOW, Clint Wesley Menzo Lawrence, by and through his attorney of

  record, Joel Vandruff, and provides the following prior to the final revocation hearing

  in the above-captioned matter:

        1. The petition for warrant or summons for offender under supervision

            alleges four (4) violations. (Doc. 39).

        2. Counsel has reviewed the petition with Mr. Lawrence and it is Mr.

            Lawrence’s intent to admit the alleged violations in the petition.

        3. Counsel has reviewed the Motion for Return Release of Seized Property

            (filed pro se) filed in this matter on May 22, 2025, with Mr. Lawrence (Doc.

            141), and notes the motion was improperly filed in this matter and is moot.
Case 4:11-cr-00159-CVE     Document 154 Filed in USDC ND/OK on 05/27/25         Page 2 of 2




                                                Respectfully submitted,

                                                s/ Joel Vandruff
                                                Joel Vandruff
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                                                Lawrence
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                                                Mustang, Oklahoma, 73064
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                            CERTIFICATE OF SERVICE

        I hereby certify that on May 27, 2025, I electronically transmitted the attached

  document to the Clerk of Court using the Electronic Case Filing System for filing.

  Based on the records currently on file in this case, the Clerk of Court will transmit a

  Notice of Electronic Filing to those registered participants of the ECF System.

                                                s/ Joel Vandruff
                                                Joel Vanddruff
